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                         Exhibit 1
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                  IN THE UNITED STATES DISTRICT COURT FOR
              THE MIDDLE DISTRICT OF FLORIDA, ORLANDO DIVISION

  JONATHAN TORRES, CHRISTINE                        )
  JACKSON, DONALD JACKSON, ASHLEY                   )
  MCCONNELL, ROXANNE GANT,                          ) CASE NO.        6:16-cv-210-PGB-DAB
  GERALD THOMAS, and CORY BEADLES,                  )
  individually and on behalf of all others          )
  similarly situated,                               )
                                                    )
                 Plaintiffs,                        )
                                                    )
  v.                                                )
                                                    )
  WENDY’S INTERNATIONAL, LLC,                       )
                                                    )
                 Defendant.                         )
                                                    )

 DEFENDANT WENDY’S INTERNATIONAL LLC’S RESPONSES AND OBJECTIONS
 TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

        Pursuant to Federal Rules of Civil Procedure 26 and 34, Wendy’s International, LLC

 (“Wendy’s”) hereby responds and objects to Plaintiffs Jonathan Torres, Christine Jackson, Donald

 Jackson, Ashley McConnell, Roxanne Gant, Gerald Thomas, and Cory Beadles’ First Set of

 Requests for Production of Documents to Wendy’s (the “Requests”) and states as follows:

                                OBJECTION TO DISCOVERY

        Wendy’s objects to the Requests and any other discovery on the grounds that it is premature

 given Wendy’s Motion to Stay Discovery. By serving these responses and objections, Wendy’s

 does not waive, but rather preserves, all rights, defenses, and arguments to challenge the Requests

 and all other discovery as premature for the reasons set forth in Wendy’s Motion to Stay Discovery.

                      OBJECTIONS TO THE REQUESTS’ DEFINITIONS

        1.      Wendy’s objects to Definition Number 3 because the definition of “Customer

 Identifying Information” is overbroad and vague. Wendy’s will construe the term to refer to

 sensitive customer information.


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        2.      Wendy’s objects to Definition Number 13 because it is overbroad and encompasses

 Wendy’s restaurants that are unaffected by the Data Breach. Unless specifically indicated

 otherwise, Wendy’s will construe the term to refer to Wendy’s restaurants affected by the Data

 Breach. Wendy’s also objects to producing documents maintained by independently owned and

 operated franchisees because they are outside of Wendy’s possession, custody, or control.

        3.      Wendy’s objects to the definition of “Wendy’s,” “Wendy’s International, LLC,”

 “Defendant,” “you,” and “your” to the extent Plaintiffs purport to include Wendy’s independently

 owned and operated franchisees. In addition, Wendy’s objects to this definition as overbroad and

 vague and ambiguous because it also purports to include “related entities.”

        4.      Wendy’s objects to the definition of “Retail Outlets” to the extent it purports to

 require Wendy’s to produce documents maintained by independently owned and operated

 franchisees, which are outside of Wendy’s possession, custody, or control.

                      OBJECTIONS TO THE REQUESTS’ INSTRUCTIONS

        1.      Wendy’s objects to Instruction Number 1 because it is drafted so broadly so as to

 purport to require Wendy’s to produce documents outside of its possession, custody, or control.

 Wendy’s will only produce documents within its possession, custody, or control consistent with

 the Federal Rules of Civil Procedure.

        2.      Wendy’s objects to Instruction Number 2 because it is not proportional to the needs

 of the case.   Wendy’s will produce relevant, non-privileged, non-objectionable documents

 consistent with the requirements set forth in the parties’ ESI Protocol. See ECF No. 69.

        3.      Wendy’s objects to Instruction Number 6 because it is not proportional to the needs

 of the case.   Wendy’s will produce relevant, non-privileged, non-objectionable documents

 consistent with the requirements set forth in the parties’ ESI Protocol. See ECF No. 69.



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        4.      Wendy’s objects to Instruction Number 8 because it is overbroad, unduly

 burdensome, not proportional to the needs of the case, and inconsistent with the requirements of

 the Federal Rules of Civil Procedure because it purports to require Wendy’s to produce documents

 that are neither relevant nor responsive to the Requests. Consistent with the Federal Rules of Civil

 Procedure, Wendy’s will produce non-privileged, non-objectionable documents in its possession

 custody, or control to the extent responsive to these Requests.

        5.      Wendy’s objects to Instruction Number 9 because it is unduly burdensome.

 Wendy’s will comply with the requirements set forth in the parties’ ESI Protocol in the event it

 produces a document with redactions. See ECF No. 69.

        6.      Wendy’s objects to Instruction Number 10 because it is unduly burdensome, not

 proportional to the needs of this case, and inconsistent with the Federal Rules of Civil Procedure.

 To the extent that documents are withheld or redacted on the grounds of privilege or attorney work

 product, Wendy’s will identify the author, recipient(s), data, Bates number, subject/title, privilege

 and/or doctrine relied upon, and provide a description of the document and/or document family by

 type and content consistent with the requirements of the Federal Rules of Civil Procedure.

             OBJECTIONS TO THE REQUESTS’ RELEVANT TIME PERIOD

        1.      Wendy’s objects to producing documents for the period of January 27, 2015, to the

 present on the grounds that producing documents to the present is overbroad, unduly burdensome,

 and inconsistent with the proportionality requirements of Federal Rule of Civil Procedure 26.

 Wendy’s will meet and confer with Plaintiffs to negotiate a reasonable end date. For purposes of

 these responses and objections, Wendy’s will define the Relevant Time Period as January 27, 2015,

 through the end date to be negotiated by the parties. Unless expressly stated otherwise, Wendy’s

 will search for and produce non-privileged, non-objectionable responsive documents for the



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 Relevant Time Period (i.e., January 27, 2015, through a reasonable end date to be negotiated by

 the parties). Moreover, Wendy’s objects to producing documents “that relate to such time period”

 or are “necessary for a correct or complete understanding” on the grounds that it is unduly

 burdensome and vague. In addition, Wendy’s objects to producing undated documents that

 Wendy’s in good faith believes are outside of the Relevant Time Period.

      RESPONSES AND OBJECTIONS TO PLAINTIFFS’ DOCUMENT REQUESTS

 REQUEST FOR PRODUCTION NO. 1: Documents regarding Plaintiffs.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 1: Wendy’s objects to this Request as

 overbroad, unduly burdensome, and inconsistent with the proportionality requirements of Federal

 Rule of Civil Procedure 26 because it purports to require Wendy’s to produce documents

 pertaining to the Plaintiffs that, to the extent they exist, have nothing to do with the substance of

 the claims asserted in the Complaint. Wendy’s also objects to producing documents maintained

 by independently owned and operated franchisees because they are outside of Wendy’s possession,

 custody, or control. In addition, Wendy’s objects to this Request because it is drafted so broadly

 so as to encompass documents protected from disclosure by the attorney-client privilege and/or

 work product doctrine, which will be withheld.

          Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request concerning Plaintiffs to the

 extent that they relate to the Data Breach.

 REQUEST FOR PRODUCTION NO. 2: Documents sufficient to identify the Wendy’s retail
 outlets subject to the Data Breach and the dates those retail outlets were subject to the Data
 Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 2: Wendy’s objects to this Request as

 unduly     burdensome     because     the     information   requested     is   publicly    available

 (https://payment.wendys.com/paymentcardcheck.html). Wendy’s also objects on the grounds that

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 the term “Retail Outlets” is vague and ambiguous. Wendy’s further objects to the extent this

 Request purports to require Wendy’s to produce documents protected from disclosure by the

 attorney-client privilege and/or the work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce documents

 sufficient to identify the restaurants potentially affected (including the dates potentially affected)

 by the Data Breach.

 REQUEST FOR PRODUCTION NO. 3: Documents sufficient to identify the customers whose
 data was accessed and/or accessible by third parties (i.e., persons or entities other than Plaintiffs
 or Defendant) in connection with the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 3: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees because they are outside of Wendy’s possession, custody, or

 control. Wendy’s also objects to the use of the terms “customers,” “accessed,” and “accessible”

 on the grounds that they are vague and ambiguous and overly broad and unduly burdensome.

 Wendy’s further objects to the extent this Request purports to require Wendy’s to produce

 documents protected from disclosure by the attorney-client privilege and/or the work product

 doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s is unaware at present

 that any documents responsive to this Request exist.

 REQUEST FOR PRODUCTION NO. 4: Documents sufficient to identify the data and/or types
 of data that was/were accessed and/or accessible by third parties (i.e., persons or entities other
 than Plaintiffs or Defendant) in connection with the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 4: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents outside of its possession, custody,

 or control. Wendy’s also objects to the use of the terms “customers,” “accessed,” and “accessible”

 on the grounds that they are vague and ambiguous and overly broad and unduly burdensome.

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 Wendy’s further objects to the extent this Request purports to require Wendy’s to produce

 documents protected from disclosure by the attorney-client privilege and/or the work product

 doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents sufficient to identify the categories of customer

 information potentially affected by the Data Breach.

 REQUEST FOR PRODUCTION NO. 5: Documents regarding Defendant’s policies and
 procedures concerning Internet security, point-of-sale (“POS”) system security, computer
 security, and/or the protection of customer data, including the policies and procedures required
 of, applicable to, and/or implemented by Defendant’s retail outlets.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 5: Wendy’s objects to this Request

 because the phrases “Internet security,” “computer security,” and “the protection of customer data”

 are not defined and are vague and ambiguous. Wendy’s also objects to this Request as overbroad

 and unduly burdensome because it purports to require the production of all documents regarding

 policies and procedures concerning “Internet security, point-of-sale (“POS”) system security,

 computer security, and/or the protection of customer data . . . .” Wendy’s further objects to

 producing documents maintained by independently owned and operated franchisees because they

 are outside of Wendy’s possession, custody, or control. In addition, Wendy’s objects to this

 Request because it is drafted so broadly so as to encompass documents protected from disclosure

 by the attorney-client privilege and/or the work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce relevant

 policies and procedures concerning data security and protecting sensitive customer information.

 Wendy’s will also produce non-privileged, non-objectionable documents sufficient to show

 Wendy’s requirements regarding the franchisee point-of-sale system potentially impacted by the

 Data Breach.    Finally, Wendy’s will produce non-privileged, non-objectionable documents


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 responsive to this Request identified after applying agreed upon search terms to a reasonable data

 set.

 REQUEST FOR PRODUCTION NO. 6: Documents regarding the disclosure of the Data
 Breach to Wendy’s retail outlets, the public, affected persons and entities, insurance companies,
 or other persons or entities outside of Wendy’s.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 6: Wendy’s objects to this Request

 because it is drafted so broadly so as to encompass documents protected from disclosure by the

 attorney-client privilege and/or the work product doctrine, which will be withheld. Wendy’s also

 objects to this Request because it is overbroad, unduly burdensome, and not proportional to the

 needs of this case because, among other reasons, it purports to require Wendy’s to produce all

 documents “regarding” the disclosure of the Data Breach to any “other persons or entities outside

 of Wendy’s.” Moreover, Wendy’s objects to producing documents maintained by independently

 owned and operated franchisees because they are outside of Wendy’s possession, custody, or

 control. In addition, Wendy’s also objects to this Request on the grounds that it is unduly

 burdensome because it seeks publicly available information, such as Wendy’s public statements

 regarding the Data Breach. Wendy’s further objects to the term “retail outlets” and “affected

 persons and entities” as vague and ambiguous.

        Subject to and without waiving the foregoing objections, Wendy’s will produce documents

 sufficient to show all non-privileged, non-objectionable documents provided by Wendy’s to third-

 parties concerning the Data Breach.

 REQUEST FOR PRODUCTION NO. 7: Documents regarding Defendant’s response to the
 Data Breach, including Documents addressing improvements to computer, Internet, or POS
 security systems; anti-hacking protection; and/or the protection of customer data subsequent to
 the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 7: Wendy’s objects to this Request as

 overbroad, unduly burdensome, and inconsistent with the proportionality requirements of Federal


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 Rule of Civil Procedure 26 because it purports to require the production of significant volumes of

 data with limited, if any, relevance to Plaintiffs’ claims. Moreover, Wendy’s objects to producing

 documents maintained by independently owned and operated franchisees because they are outside

 of Wendy’s possession, custody, or control. Wendy’s also objects to this Request because it is

 drafted so broadly so as to encompass documents protected from disclosure by the attorney-client

 privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request identified after applying

 agreed upon search terms to a reasonable data set.

 REQUEST FOR PRODUCTION NO. 8: Documents regarding potential unusual payment card
 activity reported to Wendy’s by its payment industry contacts to the extent those reports related
 to, were potentially related to, or led to the discovery of the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 8: Wendy’s objects to the terms

 “unusual payment card activity” and “payment industry contacts” as vague and ambiguous.

 Wendy’s also objects to producing documents in response to this Request that Wendy’s is

 prohibited from producing as a result of confidentiality or other obligations to any third parties,

 governmental agency, regulatory agency, or law enforcement agency. Moreover, Wendy’s objects

 to producing documents maintained by independently owned and operated franchisees because

 they are outside of Wendy’s possession, custody, or control. Wendy’s further objects to this

 Request because it is drafted so broadly so as to encompass documents protected from disclosure

 by the attorney-client privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce documents

 received from its payment card processor concerning the Data Breach.




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 REQUEST FOR PRODUCTION NO. 9: Documents regarding Wendy’s response to and
 investigation of the Data Breach, including communications with and Documents prepared by
 investigators, third-party forensic experts, industry experts, and law enforcement.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 9: Wendy’s objects to producing

 documents in response to this Request that Wendy’s is prohibited from producing as a result of

 confidentiality or other obligations to any third parties, governmental agency, regulatory agency,

 or law enforcement agency. Moreover, Wendy’s objects to producing documents maintained by

 independently owned and operated franchisees because they are outside of Wendy’s possession,

 custody, or control. Wendy’s further objects to this Request because it is drafted so broadly so as

 to encompass documents protected from disclosure by the attorney-client privilege and/or work

 product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, and subject to any third-party

 notification requirements, Wendy’s will produce the final versions of reports issued by the

 payment card industry forensic investigator concerning the Data Breach.

 REQUEST FOR PRODUCTION NO. 10: Documents regarding the malware, software, virus,
 or other technology responsible for, resulting in, or used in connection with the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 10: Wendy’s objects to producing

 documents in response to this Request that Wendy’s is prohibited from producing as a result of

 confidentiality or other obligations to any third parties, governmental agency, regulatory agency,

 or law enforcement agency. Moreover, Wendy’s objects to producing documents maintained by

 independently owned and operated franchisees because they are outside of Wendy’s possession,

 custody, or control. Wendy’s also objects to the Request because it is drafted so broadly so as to

 encompass documents protected from disclosure by the attorney-client privilege and/or work

 product doctrine, which will be withheld.




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        Subject to and without waiving the foregoing objections, and subject to any third-party

 notification requirements, Wendy’s will produce the final versions of reports issued by the

 payment card industry forensic investigator concerning the Data Breach.

 REQUEST FOR PRODUCTION NO. 11: Documents regarding the names, locations, IP
 addresses, MAC addresses, or other identifying or partially-identifying information of the third
 party or parties (i.e., persons or entities other than Plaintiffs or Defendant) who accessed and/or
 were able to access customer data in connection with the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 11: Wendy’s objects this Request

 because it seeks information that is outside of Wendy’s possession, custody, or control. Wendy’s

 also objects to this Request because it is not proportional to the needs of this case. In addition,

 Wendy’s objects to producing documents in response to this Request that Wendy’s is prohibited

 from producing as a result of confidentiality or other obligations to any third parties, governmental

 agency, regulatory agency, or law enforcement agency. Moreover, Wendy’s objects to producing

 documents maintained by independently owned and operated franchisees because they are outside

 of Wendy’s possession, custody, or control. Wendy’s also objects to the Request because it is

 drafted so broadly so as to encompass documents protected from disclosure by the attorney-client

 privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, and subject to any third-party

 notification requirements, Wendy’s will produce the final versions of reports issued by the

 payment card industry forensic investigator concerning the Data Breach.

 REQUEST FOR PRODUCTION NO. 12: Documents sufficient to identify Defendant’s
 computer security, Internet security, POS security, and/or data security systems, including the
 systems used by Defendant’s retail outlets.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 12: Wendy’s objects to this Request

 because the terms “computer security,” “Internet Security,” “POS security,” and “data security

 systems” are not defined and are vague and ambiguous. Wendy’s also objects to producing


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 documents maintained by independently owned and operated franchisees because they are outside

 of Wendy’s possession, custody, or control. In addition, Wendy’s objects to this Request as

 overbroad, unduly burdensome, and inconsistent with the proportionality requirements of Federal

 Rule of Civil Procedure 26 because it is not limited to the computer systems that were affected by

 the Data Breach and form the subject matter of the Complaint. Wendy’s also objects to the Request

 to the extent it purports to require the production of documents protected by the attorney-client

 privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request identified after applying

 agreed upon search terms to a reasonable data set.

 REQUEST FOR PRODUCTION NO. 13: Documents regarding POS systems and vendors
 actually used by Wendy’s retail outlets and/or approved by Wendy’s for use at its retail outlets.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 13: Wendy’s objects to this Request as

 overbroad, unduly burdensome, and inconsistent with the proportionality requirements of Federal

 Rule of Civil Procedure 26 because it seeks all documents regarding “POS systems and vendors

 actually used by Wendy’s retail outlets and/or approved by Wendy’s for use at its retail outlets”

 and regardless of whether those POS systems were affected by the Data Breach. Wendy’s also

 objects to this Request to the extent it purports to require Wendy’s to produce documents

 maintained by independently owned and operated franchisees, which are outside of Wendy’s

 possession, custody, or control. Wendy’s further objects to the Request because it is drafted so

 broadly so as to encompass documents protected from disclosure by the attorney-client privilege

 and/or work product doctrine, which will be withheld.




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        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request following the application of

 agreed upon search terms to a reasonable data set.

 REQUEST FOR PRODUCTION NO. 14: Documents sufficient to identify the persons or
 entities responsible for Wendy’s (including its retail outlets’) computer, Internet, POS system,
 and/or data security, including Wendy’s employees, Wendy’s departments, vendors, and/or other
 third parties.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 14: Wendy’s objects to this Request

 as overbroad and unduly burdensome because it is not limited to the systems potentially impacted

 by the Data Breach. Wendy’s also objects to this Request to the extent it purports to require

 Wendy’s to produce documents maintained by independently owned and operated franchisees,

 which are outside of Wendy’s possession, custody, or control. Wendy’s further objects to the

 extent that this Request purports to require the production of documents protected by the attorney-

 client privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents sufficient to identify the persons and/or entities with

 responsibility for data security, including POS system security.

 REQUEST FOR PRODUCTION NO. 15: Documents sufficient to identify the Wendy’s
 employees responsible for responding to the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 15: Wendy’s objects to this Request

 because the phrase “responsible for responding to the Data Breach” is vague and ambiguous.

 Wendy’s further objects to the extent that this Request purports to require the production of

 documents protected by the attorney-client privilege and/or work product doctrine, which will be

 withheld.




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        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents sufficient to identify the members of Wendy’s Incident

 Response Team.

 REQUEST FOR PRODUCTION NO. 16: Documents sufficient to identify any third party
 retained by Wendy’s to assess, respond to, and/or ameliorate the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 16: Wendy’s objects to this Request

 to the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees, which are outside of Wendy’s possession, custody, or control.

 Wendy’s also objects to the extent that this Request purports to require the production of

 documents protected by the attorney-client privilege and/or work product doctrine, which will be

 withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents to the extent they exist responsive to this Request.

 REQUEST FOR PRODUCTION NO. 17: Documents regarding, or sufficient to identify, the
 nature of the relationship between Defendant and the retail outlets subject to the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 17: Wendy’s objects to the phrases

 “nature of the relationship” and “retail outlets” as vague and ambiguous. Wendy’s further objects

 to the extent that this Request purports to require the production of documents protected by the

 attorney-client privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents sufficient to show the relationship between potentially

 impacted franchisees and Wendy’s.




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 REQUEST FOR PRODUCTION NO. 18: Documents regarding actual or potential harm to
 Defendant’s customers resulting from the Data Breach or Defendant’s response to the Data
 Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 18: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees, which are outside of Wendy’s possession, custody, or control.

 Wendy’s also objects to this Request because it is drafted so broadly so as to encompass documents

 protected from disclosure by the attorney-client privilege and/or work product doctrine, which will

 be withheld. Wendy’s also objects because the phrase “Defendant’s response to the Data Breach”

 is vague and ambiguous.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request to the extent that they exist.

 REQUEST FOR PRODUCTION NO. 19: Documents regarding Defendant’s assessment,
 evaluation, or estimate of the number of customers that have suffered, or are likely to suffer, fraud,
 identity theft, or other harm as a result of the Data Breach.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 19: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees, which are outside of Wendy’s possession, custody, or control.

 Wendy’s also objects to this Request because it is drafted so broadly so as to encompass documents

 protected from disclosure by the attorney-client privilege and/or work product doctrine, which will

 be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request to the extent that they exist.

 REQUEST FOR PRODUCTION NO. 20: Documents regarding Defendant’s assessment,
 evaluation, or estimate of the cost in dollars attributable to the fraud, identity theft, or any other
 harm incurred by customers as a result of the Data Breach.



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 RESPONSE TO REQUEST FOR PRODUCTION NO. 20: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees, which are outside of Wendy’s possession, custody, or control.

 Wendy’s also objects to this Request because it is drafted so broadly so as to encompass documents

 protected from disclosure by the attorney-client privilege and/or work product doctrine, which will

 be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request to the extent that they exist.

 REQUEST FOR PRODUCTION NO. 21: Documents regarding the cost associated with the
 provision of security or protection by Defendant to Customer Identifying Information and Payment
 Card Data.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 21: Wendy’s objects to this Request

 because it is vague and ambiguous, particularly the phrase “costs associated with the provision of

 security or protection.” Wendy’s also objects to this Request as overbroad and unduly burdensome

 because it purports to require Wendy’s to produce all documents regarding the “cost associated

 with the provision of security or protection by Defendant to Customer Identifying Information and

 Payment Card Data.” Wendy’s objects to this Request to the extent it purports to require Wendy’s

 to produce documents maintained by independently owned and operated franchisees, which are

 outside of Wendy’s possession, custody, or control. Moreover, Wendy’s objects to the extent that

 this Request purports to require the production of documents protected by the attorney-client

 privilege and/or work product doctrine, which will be withheld.

        Subject to and without waiving the foregoing objections, Wendy’s will produce non-

 privileged, non-objectionable documents responsive to this Request following the application of

 agreed upon search terms to a reasonable data set.



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 REQUEST FOR PRODUCTION NO. 22: Documents regarding the portion of retail prices, if
 any, which accounts for the cost associated with the provision of security or protection by
 Defendant to Customer Identifying Information and Payment Card Data.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 22: Wendy’s objects to this Request to

 the extent it purports to require Wendy’s to produce documents maintained by independently

 owned and operated franchisees, which are outside of Wendy’s possession, custody, or control.

 Wendy’s also objects to the phrase “portion of retail prices” as vague, ambiguous and unduly

 burdensome. Wendy’s also objects on the ground that this Request purports to require Wendy’s

 to create and then produce documents not maintained in the ordinary course of business. Wendy’s

 also objects to the Request because it is drafted so broadly so as to encompass documents protected

 from disclosure by the attorney-client privilege and/or work product doctrine, which will be

 withheld.

        Subject to and without waiving the foregoing objections, Wendy’s states that it is unaware

 at present that any documents responsive to this Request exist.

        Dated: October 11, 2016.


                              By: Kristine McAlister Brown
                                  KRISTINE MCALISTER BROWN
                                  Florida Bar Number 433640
                                  CARI K. DAWSON
                                  Admitted Pro Hac Vice
                                  DONALD M. HOUSER
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                  IN THE UNITED STATES DISTRICT COURT FOR
              THE MIDDLE DISTRICT OF FLORIDA, ORLANDO DIVISION

  JONATHAN TORRES, CHRISTINE                         )
  JACKSON, DONALD JACKSON, ASHLEY                    )
  MCCONNELL, ROXANNE GANT,                           ) CASE NO.       6:16-cv-210-PGB-DAB
  GERALD THOMAS, and CORY BEADLES,                   )
  individually and on behalf of all others           )
  similarly situated,                                )
                                                     )
                 Plaintiffs,                         )
                                                     )
  v.                                                 )
                                                     )
  WENDY’S INTERNATIONAL, LLC,                        )
                                                     )
                 Defendant.                          )
                                                     )

                                 CERTIFICATE OF SERVICE

 This is to certify that on October 11, 2016, a copy of the within and foregoing DEFENDANT

 WENDY’S       INTERNATIONAL            LLC’S     RESPONSES         AND     OBJECTIONS           TO

 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS was

 served via email and by United States Mail, postage prepaid, on counsel of record Plaintiffs.



                                              s/ Donald M. Houser
                                              Donald M. Houser




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